  Case 1:25-cv-00117-LG-RPM   Document 1-1   Filed 04/16/25   Page 1 of 18
EXHIBIT "A"
  Case 1:25-cv-00117-LG-RPM   Document 1-1   Filed 04/16/25   Page 2 of 18
EXHIBIT "A"
  Case 1:25-cv-00117-LG-RPM   Document 1-1   Filed 04/16/25   Page 3 of 18
EXHIBIT "A"
  Case 1:25-cv-00117-LG-RPM   Document 1-1   Filed 04/16/25   Page 4 of 18
EXHIBIT "A"
  Case 1:25-cv-00117-LG-RPM   Document 1-1   Filed 04/16/25   Page 5 of 18
EXHIBIT "A"
  Case 1:25-cv-00117-LG-RPM   Document 1-1   Filed 04/16/25   Page 6 of 18
EXHIBIT "A"
  Case 1:25-cv-00117-LG-RPM   Document 1-1   Filed 04/16/25   Page 7 of 18
EXHIBIT "A"
  Case 1:25-cv-00117-LG-RPM   Document 1-1   Filed 04/16/25   Page 8 of 18
EXHIBIT "A"
  Case 1:25-cv-00117-LG-RPM   Document 1-1   Filed 04/16/25   Page 9 of 18
EXHIBIT "A"
      Case 1:25-cv-00117-LG-RPM               Document 1-1       Filed 04/16/25      Page 10 of 18
    EXHIBIT "A"



                  IN THE CIRCUIT COURT OF HARRISON COUNTY, MISSISSIPPI

   JUANITA ELLIS,                                     *
                                                      *
              Plaintiff,                              *
                                                      *
   vs.                                                *    CASE NO.: 24CI1:25 CV 00057
                                                      *
   WALMART STORES, INC.,                              *
   DARRIEN SKIPPER, INDIVIDUALLY                      *
   AND AS AN AGENT AND EMPLOYEE                       *
   OF WALMART STORES, INC. AND                        *
   JOHN DOES 1-4.                                     *
                                                      *
              Defendants.                             *



                                                    ANSWER


         Defendants, Walmart Stores Inc. and Darren Skipper, (hereinafter collectively referred to as

“Walmart”), answers Plaintiff’s Complaint as follows with each numbered paragraph corresponding to

the numbered paragraphs of Plaintiff’s Complaint:


                                     I. JURISDICTION AND VENUE


         1.       Walmart admits this is a civil action seeking monetary damages and that Plaintiff, Juanita

Ellis, was involved in an incident at the Walmart store on Pass Road in Gulfport, Mississippi. Walmart

denies Plaintiff is entitled to any recovery in this matter.

         2.       Walmart admits Plaintiff was involved in an incident on March 4, 2022, and, at the

present time, that this Court has jurisdiction and venue is proper. Walmart denies Plaintiff is entitled to

any recovery in this matter.
     Case 1:25-cv-00117-LG-RPM                Document 1-1     Filed 04/16/25     Page 11 of 18
   EXHIBIT "A"



                                               II. PARTIES


       3.      Walmart is without knowledge and information sufficient to form a belief as to Plaintiff’s

age or residency but at this time, admits same.

       4.      Walmart admits it is a foreign corporation authorized to do business in Mississippi and

may be served via its registered agent.

       5.      Walmart denies that Darren Skipper is an adult resident citizen of Harrison County,

Mississippi, but admits he may be served with process at the Walmart store located on Pass Road in

Gulfport, Mississippi.

       6.      As this paragraph is directed towards fictitious parties, no response from Walmart is

required. To the extent this paragraph asserts or implies allegations against Walmart, the same are

denied and strict proof thereof is demanded.

                                               III.   FACTS

       7.      Walmart admits Plaintiff, Juanita Ellis, was present on its premises in Gulfport,

Mississippi, on or about March 4, 2022. Walmart is without knowledge and information sufficient to

form a belief as to the allegations concerning Plaintiff’s purpose for her presence or whether she was

“shopping” and, therefore, must deny the same and demand strict proof thereof. Walmart denies the

remaining allegations of this paragraph and demands strict proof thereof.

       8.      Walmart denies the allegations of this paragraph and demands strict proof thereof.

       9.      Walmart admits that the law imposes certain duties upon it as the operator of a retail

establishment, which laws speak for themselves. Walmart denies the remaining allegations of this

paragraph and demands strict proof thereof.
      Case 1:25-cv-00117-LG-RPM               Document 1-1        Filed 04/16/25    Page 12 of 18
    EXHIBIT "A"



                               IV. CAUSE OF ACTION: NEGLIGENCE



        10.     Walmart is without knowledge and information sufficient to form a belief as to the

allegations concerning Plaintiff’s status as an “invitee” and, therefore, must deny the same and demand

strict proof thereof. Walmart admits that the law imposes certain duties upon it as the operator of a retail

establishment, which laws speak for themselves. Walmart denies the remaining allegations of this

paragraph and demands strict proof thereof.

        11.     Walmart denies the allegations of this paragraph, including the allegations in the

unnumbered paragraph following paragraph 11, and demands strict proof thereof.

        12.     Walmart admits that Darren Skipper was the store manager at the time of this incident,

but denies all reaming allegations and demands strict proof thereof.

        13.     Walmart denies the conduct of its employees or agents constituted negligence and

demands strict proof thereof. Walmart denies the remaining allegations of this paragraph and demands

strict proof thereof.

        14.     Walmart denies its conduct constituted negligence and demands strict proof thereof.

Walmart further denies its conduct was the proximate cause or contributing causes of this incident or

Plaintiff’s injuries and damages and demands strict proof thereof. Walmart denies the remaining

allegations of this paragraph and demands strict proof thereof.

        15.     Walmart denies the allegations of this paragraph and demands strict proof thereof.

        16.     Walmart denies the allegations of this paragraph and demands strict proof thereof.

        Walmart denies the allegations contained in the unnumbered paragraph following paragraph 16

which begins “WHEREFORE”, and specifically denies that the Plaintiff is entitled to any recovery

whatsoever.
      Case 1:25-cv-00117-LG-RPM              Document 1-1        Filed 04/16/25    Page 13 of 18
    EXHIBIT "A"



                                         AFFIRMATIVE DEFENSES


        1.      Defendant denies each and every material allegation of Plaintiff’s Complaint not

otherwise addressed and demands strict proof thereof.


        2.      Plaintiff was guilty of negligence that caused or contributed to cause the injuries about

which Plaintiff complains and, therefore, under Mississippi law, Plaintiff is not entitled to recover any

damages or her recovery should be limited accordingly.


        3.      The alleged hazard about which Plaintiff complains was open and obvious thereby

obviating a duty to warn and precluding Plaintiff from recovering damages under Mississippi law.


        4.      Defendant did not have notice of the alleged hazard about which Plaintiff complains and,

therefore, under Mississippi law, Defendant owed Plaintiff no duty to eliminate the alleged hazard.


        5.      No act or omission of this Defendant was the proximate cause of any injury to Plaintiff.


        6.      Defendant owed Plaintiff no duty as alleged, the breach of which caused or contributed to

the cause of the Plaintiff’s injuries.


        7.      Plaintiff’s injuries and damages were the result of an intervening and/or superseding

cause; therefore, Plaintiff should not recover from Defendant.


        8.      Defendant respectfully demands credit for any and all monies paid to, or on behalf of,

Plaintiff from any and all collateral sources.


        9.      Plaintiff, in whole or in part, failed to mitigate her alleged damages and, therefore, is

precluded from recovery.


        10.     Plaintiff’s alleged damages are the result of a condition and/or injury which predates the
      Case 1:25-cv-00117-LG-RPM               Document 1-1     Filed 04/16/25    Page 14 of 18
    EXHIBIT "A"



incident made the basis of his Complaint and having no causal relationship with Defendant.


        11.    Plaintiff’s Complaint fails to state a claim for relief as to Darren Skipper, and Darren

Skipper is therefore due to be dismissed.

        12. Plaintiff’s claims are barred by the applicable statute of limitations, which has expired in

this matter.


        13.    Defendant reserves the right to add and/or supplement these affirmative defenses as

discovery in this matter has not yet begun.


        DEFENDANT DEMANDS TRIAL BY STRUCK JURY.


        Respectfully submitted on April 16, 2025.


                                                 /s/ W. Pemble DeLashmet
                                                 W. PEMBLE DELASHMET (MS 8840)
                                                 wpd@delmar-law.com
                                                 CHAD C. MARCHAND (MS 102752)
                                                 ccm@delmar-law.com
                                                 MIGNON M. DELASHMET (MS 2896)
                                                 mmd@delmar-law.com
                                                 Attorneys for Defendants Walmart Stores Inc. and
                                                 Darren Skipper




OF COUNSEL:

DELASHMET & MARCHAND, P.C.
Post Office Box 2047
Mobile, AL 36652
Telephone:    (251) 433-1577
Facsimile:    (251) 433-7994
     Case 1:25-cv-00117-LG-RPM            Document 1-1       Filed 04/16/25     Page 15 of 18
   EXHIBIT "A"



                                    CERTIFICATE OF SERVICE


       I hereby certify that I have on this day April 16, 2025, served a copy of the foregoing pleading
upon counsel as listed below by depositing the same in the U. S. Mail, postage prepaid and properly
addressed.


Tamekia R. Goliday
Goliday Law Firm
1500 Jacksonian Plaza, Ste C
P. O. Box 13632
Jackson, MS 39236



                                            /s/ W. Pemble DeLashmet
                                            OF COUNSEL
     Case 1:25-cv-00117-LG-RPM              Document 1-1        Filed 04/16/25     Page 16 of 18
   EXHIBIT "A"



                IN THE CIRCUIT COURT OF HARRISON COUNTY, MISSISSIPPI

   JUANITA ELLIS,                                   *
                                                    *
            Plaintiff,                              *
                                                    *
   vs.                                              *   CASE NO.: 24CI1:25 CV 00057
                                                    *
   WALMART STORES, INC.,                            *
   DARRIEN SKIPPER, INDIVIDUALLY                    *
   AND AS AN AGENT AND EMPLOYEE                     *
   OF WAL-MART STORES, INC.                         *
                                                    *
            Defendants.                             *



                                      NOTICE OF REMOVAL


TO:      JUSTIN WETZEL, Circuit Clerk
         HARRISON COUNTY-CIVIL DIVISION
         1801 23rd AVENUE
         GULFPORT, MS 39501

         There is hereby filed with you a copy of the Notice of Removal filed by Defendants Walmart

Stores Inc. and Darren Skipper (hereinafter collectively referred to as “Walmart”) through undersigned

counsel, in the case styled “Juanita Ellis, Plaintiff v. Walmart Stores Inc., and Darren Skipper, et. al.,”

Civil Action No. 24CI1:25 CV 00057, and designed to remove that action to the United States District

Court for the Southern District of Mississippi, Southern Division. This Notice of Removal was sent for

filing in the United States District Court for the Southern District of Mississippi, Southern Division, on

the 16th day of April, 2025.

         Written notice of the filing of said Notice of Removal was given to the attorneys of record for

plaintiff herein by service via U.S. mail on the 16th day of April, 2025, and you are hereby notified that

the filing of a copy of the aforesaid Notice with you as Clerk of the Circuit Court of Harrison County,
     Case 1:25-cv-00117-LG-RPM              Document 1-1        Filed 04/16/25     Page 17 of 18
   EXHIBIT "A"



Mississippi, effects removal of said cause to the United States District Court for the Southern District of

Mississippi, Southern Division.

       DATED this 16th day of April, 2025.



                                                /s/ W. Pemble DeLashmet________________
                                                W. PEMBLE DELASHMET (MS 8840)
                                                wpd@delmar-law.com
                                                CHAD C. MARCHAND             (MS 102752)
                                                ccm@delmar-law.com
                                                MIGNON M. DELASHMET (MS 2896)
                                                mmd@delmar-law.com
                                                Attorneys for Defendants Walmart Stores Inc. and
                                                Darren Skipper




OF COUNSEL:

DELASHMET & MARCHAND, P.C.
Post Office Box 2047
Mobile, AL 36652
Telephone:    (251) 433-1577
Facsimile:    (251) 433-7994
     Case 1:25-cv-00117-LG-RPM            Document 1-1       Filed 04/16/25     Page 18 of 18
   EXHIBIT "A"



                                    CERTIFICATE OF SERVICE


       I hereby certify that I have on this day April 16, 2025, served a copy of the foregoing pleading
upon counsel as listed below by depositing the same in the U. S. Mail, postage prepaid and properly
addressed.


Tamekia R. Goliday
Goliday Law Firm
1500 Jacksonian Plaza, Ste C
P. O. Box 13632
Jackson, MS 39236



                                            /s/ W. Pemble DeLashmet
                                            OF COUNSEL
